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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 SUE HARMON, individually and on
 behalf of all others similarly situated,

                  Plaintiff,

 v.                                            Case No. 3:23-CV-1643-NJR

 LENOVO (UNITED STATES) INC.,

                  Defendant.

                       JUDGMENT IN A CIVIL ACTION

DECISION BY THE COURT.

      This matter having come before the Court, and the Court having rendered a decision,

      IT IS ORDERED AND ADJUDGED that, pursuant to the Notice of Voluntary

Dismissal filed on May 12, 2024 (Doc. 22), this action was DISMISSED without prejudice

pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure.

      DATED: May 13, 2024

                                                MONICA A. STUMP,
                                                Clerk of Court

                                                By: s/ Deana Brinkley
                                                       Deputy Clerk


APPROVED: s/ Nancy J. Rosenstengel_____
          NANCY J. ROSENSTENGEL
          Chief U.S. District Judge
